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                    EXHIBIT B
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                      2F2BC429-CF58-4C85-9236-6CA0C3259450
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                                                             AGREEMENT
            This Agreement memorializes an Agreement made in Scottsdale, Arizona in July 2021 by and
            between Toby McBride, Michael Holley, Joseph “Joe” Pavlik, in their respective positions as
            shareholders of Labor Smart, Inc., a Georgia Corporation and/or Takeover Industries, Inc. a Nevada
            Corporation and/or in their individual capacities and Jason Tucker, an individual (collective the
            “Parties”).
                   WHEREAS, the Parties acknowledge that each of them individually and collectively has
            formed various companies and held management positions with this current venture servicing the
            beverage industry including, but not limited to, the trademarked brand NXT LVL.
                   WHEREAS, the Parties desires to avail itself of the expertise and services of each other, in
            which they acknowledge the respective expertise of each Party.
                     NOW, THEREFORE, in consideration of the foregoing recitals, (which shall be deemed a
            part of this Agreement) and the covenants and conditions herein set forth, the parties hereto agreed as
            follows:
            1. Takeover Industries Inc, is a Nevada Company, (Entity number E11605462021-2), located at 401
               Ryland St, Ste 200-A, Reno, NV, 89502, USA (hereinafter “Takeover”).
                  a. The Parties shall receive and be assigned 25% of the shares in Takeover.
                  b. Joseph Pavlik and Jason Tucker shall be named a Director of Takeover.
                  c. The Parties shall be entitled to and receive monthly payments, draws and/or salary equal
                      to each other or their assigns.

            2. Labor Smart, Inc. (EIN XX-XXXXXXX) is a Georgia based Company trading on the OTC as LTNC
               (hereinafter “LTNC”).
                   a. Toby McBride, Michael Holley, and Joseph Pavlik hold 51 Preferred Shares in LTNC
                       that equals 51% of the voting rights in LTNC.
                   b. Toby McBride, Michael Holley, and Joseph Pavlik agree that 12 of those Preferred
                       Shares in LTNC shall be released and issued to Jason Tucker or his assigns if/when
                       LTNC receives a “current” status from OTC Markets or another market such as
                       NASDAQ, NYSE or equivalent.
                   c. Toby McBride, Michael Holley, and Joseph Pavlik will each retain 13 of the Preferred
                       Shares in LTNC.
                        i. As a matter of example, the preferred share division will be as follows:
                                   1. Toby McBride         13 Preferred Shares
                                   2. Michael Holley       13 Preferred Shares
                                   3. Joseph Pavlik        13 Preferred Shares
                                   4. Jason Tucker         12 Preferred Shares
                   d. In addition, the Parties agree that Jason Tucker or his assigns shall receive 750M
                       common shares valued at the same rate as Toby McBride or his assigns.
                   e. None of Parties shares shall be diluted unless they collectively agree.

            3. No amendment or waiver of any provision of this Agreement, or consent to any departure by
               either party from any such provision, shall be effective unless the same shall be in writing and



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                 signed by the parties to this Agreement, and, in any case, such amendment, waiver or consent
                 shall be effective only in the specific instance and for the specific purpose for which given.

            4. This Agreement shall constitute the entire agreement between the parties with respect to the
               subject matter hereof, and shall supersede all previous oral and written (and all contemporaneous
               oral) negotiations, commitments, agreements and understandings relating hereto.

            5. This Agreement shall be governed by, and enforced in accordance with, the laws of the State of
               Arizona (excluding the choice of law principles thereof). The parties to this Agreement hereby
               agree to submit to the non-exclusive jurisdiction of the federal and state courts located in
               Maricopa County in the state of Arizona in any action or proceeding arising out of or relating to
               this Agreement.

            6. This Agreement may be executed in two or more counterparts, and by different parties on
               separate counterparts. Each set of counterparts showing execution by all parties shall be deemed
               an original, and shall constitute one and the same document.

            7. The waiver by any party of any breach of this Agreement shall not operate as or be construed to
               be a waiver by such party of any subsequent breach.

            8. To the extent that the terms set forth in this Agreement or any word, phrase, clause or sentence
               are found to be illegal or unenforceable for any reason, such word, phrase, clause or sentence
               shall be modified or deleted in such manner so as to afford the fullest protection commensurate
               with making this Agreement, as so modified, legal and enforceable under applicable laws, and
               the balance of this Agreement shall not be affected thereby, the balance being construed as
               severable and independent.
            IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed and delivered by
            their duly authorized officers or agents as set forth below.
            AGREED and ACCEPTED:

                                                                 Address
            _________________________
            Toby McBride     8/5/2021                 Address:


            _________________________                          Address
            Michael Holley   8/5/2021                 Address: 5137 E Armor St.
                                                               Cave Creek, AZ 85331


            _________________________                            408 NE 6th Street #637
                                                                 Fort Lauderdale, FL 33304
            Joseph “Joe” Pavlik 8/5/2021              Address:


            _________________________                            3104 E Camelback Road #2917, Phoenix, AZ 85016
            Jason Tucker    8/4/2021                  Address:



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